Case 1:05-cr-00152-WS-D       Doc# 133      Filed 05/14/10    Page 1 of 2     PageID# 543




                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF ALABAMA
                           SOUTHERN DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )    CRIMINAL ACTION 05-0152-WS
                                            )
TERRANCE DORTCH,                            )
                                            )
       Defendant.                           )

                                         ORDER
       This matter is before the Court on the defendant’s petition for writ of mandamus,
through which he seeks an order compelling the government to file a motion to reduce
sentence under Federal Rule of Criminal Procedure 35(b). (Doc. 132). This is the
defendant’s third motion to obtain a Rule 35(b) reduction, (Docs. 99, 121), and it is no
less meritless than its predecessors. (Docs. 104, 127).
       As the Court has already advised the defendant, Rule 35(b) allows a post-
sentencing reduction in sentence, based on the defendant’s substantial assistance, “[u]pon
the government’s motion.” The government has filed no such motion. “[T]he
government has a power, not a duty, to file a motion when a defendant has substantially
assisted,”1 and the plea agreement expressly reserves to the government the sole
discretion to determine whether the defendant has provided substantial assistance so as to
warrant the filing of such a motion. (Doc. 38 at 7).
       The defendant continues to argue that, in his estimation, he has rendered
substantial assistance. The problem is that the law, and the plea agreement, reserve to the
government alone the determination whether the defendant has provided substantial
assistance and whether to file a Rule 35(b) motion. The defendant’s disagreement with



       United States v. Morales, 239 Fed. Appx. 533, 535 (11th Cir. 2007) (internal
       1

quotes omitted); accord United States v. Clark, 199 Fed. Appx. 874, 875 (11th Cir. 2006);
United States v. Turner, 183 Fed. Appx. 877, 878 (11th Cir. 2006).
Case 1:05-cr-00152-WS-D         Doc# 133     Filed 05/14/10    Page 2 of 2     PageID# 544




that state of affairs gets him nowhere, no matter how often he expresses it.
         The instant motion does add one new twist: the allegation that the government
refuses to file a Rule 35(b) motion because the defendant made certain statements in his
motion to vacate that the government deems false and damaging to his credibility. (Doc.
132 at 2 (citing Doc. 123, Exhibit 1)). This, he says, reflects an improper motive. (Id. at
2, 3).
         The problem is that “the Supreme Court limited the free exercise of that power [to
file a motion based on substantial assistance] only to the extent that the government
cannot exercise that power, or fail to exercise that power, for an unconstitutional motive.”
United States v. Nealy, 232 F.3d 825, 831 (11th Cir. 2000). Absent a “substantial showing
that the government refused to [file a Rule 35(b) motion] based on an unconstitutional
motive,” a trial court “lack[s] the authority to compel the government to file” such a
motion. United States v. Dunlap, 329 Fed. Appx. 869, 872 (11th Cir. 2009); accord
United States v. Dorsey, 554 F.3d 958, 961 (11th Cir. 2009). Doubts about the veracity of
a defendant’s previous assistance, or even hurt feelings over his comments about the
prosecutor, are not unconstitutional motives. E.g., United States v. Perez-Morales, 322
Fed. Appx. 713, 715 (11th Cir. 2009).
         For the reasons set forth above, the defendant’s petition for writ of mandamus is
denied.


         DONE and ORDERED this 14th day of May, 2010.


                                            s/ WILLIAM H. STEELE
                                            CHIEF UNITED STATES DISTRICT JUDGE




                                              -2-
